                        Case: 23-3324         Document: 3         Filed: 04/18/2023     Page: 1
                                         UNITED STATES COURT OF APPEALS
                                              FOR THE SIXTH CIRCUIT

                                            Appearance of Counsel
            23-3324
Appeal No.: ___________________________________

            Office of the Ohio Consumers' Counsel FERC
Case Title: _____________________________________vs.______________________________________



List all clients you represent in this appeal:
Federal Energy Regulatory Commission




         ☐ Appellant             ☐ Petitioner             ☐ Amicus Curiae               ☐Criminal Justice Act
         ☐ Appellee              ☐
                                 ✔
                                   Respondent             ☐ Intervenor                        (Appointed)

☐
✔ Check if a party is represented by more than one attorney.


☐
✔ Check if you are lead counsel.




If you are substituting for another counsel, include that attorney’s name here:



By filing this form, I certify my admission and/or eligibility to file in this court.

               Carol J. Banta
Attorney Name: ________________________________               Carol J. Banta
                                                Signature: s/_______________________________

           Federal Energy Regulatory Commission
Firm Name: ______________________________________________________________________________

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Business Address: ________________________________________________________________________

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